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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


FERNANDO NODAL,

      Plaintiff,

v.                                                CASE NO. 2:20-cv-00477-JLB-MRM

EQUIFAX INFORMATION SERVICES,
LLC and GULFSTREAM MOTOR
CREDIT COMPANY,

      Defendants.
_______________________________________


                                       ORDER

      Plaintiff announces a settlement with Defendant Equifax Information

Services (collectively, “the parties”). (Doc. 14.) Pursuant to Local Rule 3.08(b),

Defendant Equifax Information Services is DISMISSED from this action subject to

the right of either party within sixty days (1) to submit a stipulated form of final

order or judgment or (2) to move to vacate the dismissal for good cause. The clerk is

directed to dismiss Defendant Equifax Information Services from the case.

      ORDERED in Fort Myers, Florida, on September 25, 2020.
